      Case 4:22-cv-00559 Document 1 Filed on 02/21/22 in TXSD Page 1 of 5




                            UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

TINA LUNA                                    §
                                             §
       Plaintiff,                            §
                                             §
v.                                           §       CAUSE NO. 4:22-cv-559
                                             §
APRIL SHARPLESS, VANTAGE                     §
MOBILITY ACQUISITION                         §
CORPORATION D/B/A AMS VANS,                  §
LLC, and BEYOND MOBILITY, INC.               §
D/B/A AMS VANS, INC.                         §
                                             §
       Defendants.                           §


                            NOTICE OF REMOVAL
______________________________________________________________________________

TO THE HONORABLE UNITED STATES DISTRICT COURT:

       Defendants APRIL SHARPLESS, VANTAGE MOBILITY INTERNATIONAL, LLC, and AMS

VANS, LLC (the named business entities improperly identified as Vantage Mobility Acquisition

Corporation d/b/a AMS Vans, LLC and/or Beyond Mobility, Inc. d/b/a AMS Vans, Inc.), hereby

file this Notice of Removal of the above entitled and numbered cause, and in support thereof state

as follows:

                                      I.      BACKGROUND

       1.      This is a personal injury suit. Plaintiff has filed the above captioned action in the

269th Judicial District Court of Harris County, Texas, styled as Tina Luna v. April Sharpless,

Vantage Mobility Acquisition Corporation d/b/a AMS Vans, LLC, and Beyond Mobility, Inc. d/b/a

AMS Vans, Inc., Cause No. 2022-04063. A true and correct copy of Plaintiff’s Original Petition




                                                 1
       Case 4:22-cv-00559 Document 1 Filed on 02/21/22 in TXSD Page 2 of 5




together with all exhibits and pleadings on file with the State Court at the time of this Removal are

attached hereto as Exhibit A.

                II.    BASIS FOR REMOVAL: DIVERSITY JURISDICTION

        2.      Under 28 U.S.C. § 1441(a), “any civil action brought in a State court of which the

district courts of the United States have original jurisdiction, may be removed by the defendant(s)

to the district court of the United States for the district and division embracing the place where

such action is pending.”

        3.      Plaintiff alleges she is a resident of the State of Texas. See Plaintiff’s Original

Petition, sec. II, para. 2.1. As such, Plaintiff is a citizen of Texas.

        4.      Defendant April Sharpless (“Sharpless”) is a resident of the state of Ohio. See

Plaintiff’s Original Petition, sec. II, para. 2.2. As such, Sharpless is a citizen of Ohio.

        5.      Defendant Vantage Mobility International, LLC (“VMI”), was the employer of

Defendant Sharpless at the time of the motor vehicle accident made the basis of Plaintiff’s lawsuit.

See Exhibit B, Sworn Declaration of Mark Shaughnessy. VMI is an Arizona Limited Liability

Company with its principal place of business in Arizona. Vantage Mobility Acquisitions Corp. is

the sole member of VMI and it is organized under the laws of Delaware with its principal place of

business in Arizona. Therefore, VMI is a citizen of Arizona and Delaware.

        6.       AMS Vans, LLC was the owner of the subject vehicle that was driven by

Defendant Sharpless at the time of the accident. See Exhibit B. AMS Vans, LLC is a Delaware

Limited Liability Corporation with its principal place of business in Georgia. Vantage Mobility

Acquisitions Corp. is the sole member of AMS Vans, LLC and it is organized under the laws of

Delaware with its principal place of business in Arizona. Therefore, AMS Vans, LLC is a citizen

of Georgia, Delaware, and Arizona.



                                                    2
      Case 4:22-cv-00559 Document 1 Filed on 02/21/22 in TXSD Page 3 of 5




       7.      Defendants have limited information about Beyond Mobility, Inc. and AMS Vans,

Inc. at this time (sued as Beyond Mobility, Inc. d/b/a AMS Vans, Inc.); however, it is Defendants

understanding that both entities are organized under the laws of Georgia. Regardless of Beyond

Mobility, Inc. and AMS Vans, Inc.’s citizenship, they are not proper parties as neither entity

employed Defendant Sharpless nor owned the vehicle driven by Defendant Sharpless at the time

of the motor vehicle accident in question. See Exhibit B.

       8.      There is complete diversity between the parties pursuant to 28 U.S.C. §1332.

       9.      Plaintiffs claim they seek monetary relief between $250,000.00 and $1,000,000.00.

See Plaintiffs’ Original Petition, sec. I, para 1.2. Thus, the amount in controversy in this case

exceeds the $75,000 threshold. Therefore, the amount in controversy requirement of 28 U.S.C.

§1332(a) is satisfied.

       10.     Defendant Sharpless was served with Plaintiff’s Original Petition on January 25,

2022. This Removal is therefore filed within thirty-days of Defendant Sharpless’ receipt of the

Complaint, as required by 28 U.S.C. §1446(a-b). VMI and AMS Vans, LLC consent to this Notice

of Removal by their joinder in this pleading.

       11.     Copies of all state court pleadings and process are attached hereto with an index as

required by 28 U.S.C. §1446(a) and the Local Rules.

       12.     Pursuant to 28 U.S.C. §1446(d), a copy of this Notice of Removal is being filed

with the 269th Judicial District Court of Harris County, Texas and served upon counsel for Plaintiff

pursuant to 28 U.S.C. §1446(d).

       13.     VMI, AMS Vans, LLC, and Sharpless have complied with all requirements for

removal under Title 28, United States Code.




                                                 3
      Case 4:22-cv-00559 Document 1 Filed on 02/21/22 in TXSD Page 4 of 5




       14.     Pursuant to Federal Rule of Civil Procedure 38, VMI, AMS Vans, LLC, and

Sharpless demand a trial by jury.

       WHEREFORE,         PREMISES       CONSIDERED,         Defendants    V ANTAGE     MOBILITY

INTERNATIONAL, LLC, AMS VANS, LLC, and April Sharpless respectfully give notice that this

state court action has been removed from the 269th Judicial District Court of Harris County, Texas

and placed on the United States District Court for the Southern District of Texas, Houston Division

docket for further proceedings.

        DATE: February 21, 2022.

                                      Respectfully submitted,
                                      WILSON ELSER MOSKOWITZ EDELMAN & DICKER LLP.


                                             /s/ Kent M. Adams
                                             KENT M. ADAMS
                                             State Bar No. 00862900
                                             Federal Bar No. 246
                                             Kent.Adams@wilsonelser.com
                                             DANIELLE L. HOLLIS
                                             State Bar No. 24085380
                                             Federal Bar No. 2727495
                                             Danielle.Hollis@wilsonelser.com
                                             909 Fannin Street, Suite 3300
                                             Houston, Texas 77010
                                             (713) 353-2000 Telephone
                                             (713) 785-7780 Facsimile

                                             COUNSEL FOR DEFENDANTS
                                             APRIL SHARPLESS, VANTAGE MOBILITY
                                             INTERNATIONAL, LLC, AND AMS VANS,
                                             LLC




                                                4
      Case 4:22-cv-00559 Document 1 Filed on 02/21/22 in TXSD Page 5 of 5




                                CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing document has been served
on all counsel of record on this the 21th day of February, 2022, through the Court’s automatic
distribution system, in conformity with the Federal Rules of Civil Procedure.


                                             /s/ Kent M. Adams
                                             KENT M. ADAMS




                                                5
